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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE


CARL PLISCOTT, on behalf of himself and           Case No. _______________
all others similarly situated stockholders of
AYTU BIOSCIENCE, INC.,                            REMOVED FROM THE COURT OF
                                                  CHANCERY OF THE STATE OF
               Plaintiff,                         DELAWARE
vs.                                               C.A. No. 2019-0933-AGB

JOSHUA R. DISBROW, STEVEN BOYD,
GARY CANTRELL, CARL C. DOCKERY,
JOHN DONOFRIO, MICHAEL
MACALUSO AND KETAN MEHTA,

               Defendant.


                                NOTICE OF REMOVAL

         Defendants Joshua R. Disbrow, Steven Boyd, Gary Cantrell, Carl C. Dockery, John

Donofrio, Michael Macaluso, and Ketan Mehta (collectively “Defendants”), by counsel,

and pursuant to 28 U.S.C. §§ 1441 and 1446, hereby remove the above-entitled action,

which is currently pending in the Court of Chancery of the State of Delaware, and state as

follows:

                                      Background

         1.    On or about November 20, 2019, Plaintiff Carl Pliscott (“Plaintiff”)

commenced an action against Defendants in the Court of Chancery for the State of

Delaware by filing a single-count Verified Class Action Complaint (“Complaint”) alleging

that Defendants, who are each members of the board of directors of Aytu Bioscience, Inc.
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(“Aytu”), breached their fiduciary duties by allegedly omitting certain information from a

proxy statement filed by Aytu.

       2.     Plaintiff has also filed a Motion for Expedited Proceedings, and a Motion for

Preliminary injunction in the Court of Chancery for the State of Delaware.

       3.     Plaintiff’s Complaint, Summons, Motion for Expedited Proceedings, and

Motion for Preliminary Injunction constitute “all process, pleadings and orders served

upon” Defendant in this action to date. 28 U.S.C. § 1446(a), and copies of the same are

attached hereto as Exhibits A through D, respectively.

                                   Timeliness of Removal

       4.     Defendants received notice of this action through the purported service of

Plaintiff’s Complaint on Aytu’s registered agent on November 21, 2019. Therefore, this

notice of removal is timely under 28 U.S.C. § 1446(b) because less than 30 days have

passed since Defendants received Plaintiff’s Complaint.

                                    Removal Jurisdiction

       5.     This action is properly removable under 28 U.S.C. § 1441 because this Court

has original jurisdiction of this case under 28 U.S.C. § 1332, which provides in pertinent

part: “The district courts shall have original jurisdiction of all civil actions where the matter

in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between – (1) citizens of different States . . . .” 28 U.S.C. § 1332.

       6.     On information and belief, Plaintiff is a natural person and a citizen of the

state of Texas.




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       7.     Each Defendant is a citizen of a state other than Texas, meaning that there is

complete diversity of citizenship between all Plaintiffs and all Defendants.

       8.     Joshua R. Disbrow is a natural person and a citizen of the State of Colorado.

       9.     Steven Boyd is a natural person and a citizen of the State of New York.

       10.    Gary Cantrell is a natural person and a citizen of the state of North Carolina.

       11.    Carl C. Dockery is a natural person and a citizen of the State of Florida.

       12.    John Donofrio is a natural person and a citizen of the State of South Carolina.

       13.    Michael Macaluso is a natural person citizen of the State of Colorado.

       14.    Ketan Mehta is a natural person and a citizen of the State of Florida.

       15.    Based on a “‘reasonable reading of the value of the rights being litigated’”

the amount in controversy exceeds $75,000, exclusive of interests and costs. See Aloise v.

Giant of Md., No. 12-00897-LPS, 2013 U.S. Dist. LEXIS 42198, at *3 (D. Del. Mar. 26,

2013) (quoting Angus v. Shiley Inc., 989 F.2d 142, 146 (3d Cir. 1993)). The Complaint

seeks damages for an alleged breach of fiduciary duty that Plaintiff claims have harmed

the 17,688,071 shares of Aytu common stock outstanding, which are currently trading at

$0.83 cents per share. This means that a possible harm of more than approximately $0.005

per share would be sufficient to exceed the $75,000 threshold in 28 U.S.C. § 1332.

       16.    Removal to this Court is proper as the United States District Court for the

District of Delaware embraces the Court of Chancery for the State of Delaware where the

state court action was filed.




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                          Notice to State Court and Plaintiff

      17.    Pursuant to 28 U.S.C. § 1446(d), Defendants are promptly providing written

notice of this removal to Plaintiff and will immediately file a copy of this Notice of

Removal with the Register of the Court of Chancery for the State of Delaware.

                                       Consent

      18.    Each of the Defendants have consented to the removal of this action. See 28

U.S.C. § 1446(b)(2)(A).

      WHEREFORE, Defendants respectfully request that the above-entitled action be

removed from the Court of Chancery of the State of Delaware.



      [Signature to follow.]




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Dated: December 5, 2019       DORSEY & WHITNEY (DELAWARE) LLP

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                              Steven Boyd, Gary Cantrell, Carl C. Dockery, John
                              Donofrio, Michael Macaluso, and Ketan Mehta




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